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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA et al.,

                       Plaintiffs,
                                                         Case No. 1:18-cv-02340-RJL
v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                       Defendants.



           PLAINTIFF UNITED STATES’ MOTION AND MEMORANDUM IN
            SUPPORT OF ENTERING THE PROPOSED FINAL JUDGMENT

       Pursuant to the Antitrust Procedures and Penalties Act, 15 U.S.C. §§ 16(b)–(h) (“APPA”),

the United States moves for entry of the proposed Final Judgment filed on October 10, 2018

(attached as Exhibit 1).

       The proposed Final Judgment may be entered at this time without further proceedings if

the Court determines that entry is in the public interest. 15 U.S.C. § 16(e). The Competitive

Impact Statement (“CIS”) and Response of Plaintiff United States to Public Comments on the

Proposed Final Judgment (“Response to Public Comments”)—filed by the United States on

October 10, 2018 (Dkt. # 3), and February 13, 2019 (Dkt. # 56), respectively—explain why entry

of the proposed Final Judgment is in the public interest. With this motion, the United States is

also filing a Certification of Compliance (attached as Exhibit 2) showing that the parties have

complied with all applicable provisions of the APPA and certifying that the 60-day statutory

public comment period has expired.
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I.     Background

       On October 10, 2018, the United States filed a Complaint in this matter alleging that

CVS’s proposed acquisition of Aetna would substantially lessen competition for the sale of

individual prescription drug plans (PDPs) in the United States in violation of Section 7 of the

Clayton Act, 15 U.S.C. § 18.

       Simultaneously with the filing of the Complaint, the United States filed a proposed Final

Judgment; an Asset Preservation Stipulation and Order signed by the parties that consents to

entry of the proposed Final Judgment after compliance with the requirements of the Tunney Act

have been met; and a Competitive Impact Statement describing the transaction and the proposed

Final Judgment.

       The proposed Final Judgment, which requires CVS to divest Aetna’s individual PDP

business nationwide to WellCare, has several components. First, CVS must divest both of

Aetna’s individual PDP contracts with the Centers for Medicare and Medicaid Services. Aetna’s

individual PDP business was the only portion of Aetna’s business where the merger with CVS

would have caused a substantial lessening of competition. These contracts were transferred to

WellCare on November 29, 2018. Second, the proposed Final Judgment required CVS and Aetna

to transfer all data relating to Aetna’s individual PDP business to WellCare, including

information regarding the amount that Aetna pays to retail pharmacies in exchange for filling

prescriptions for Aetna members and any contracts with brokers that currently sell Aetna’s

individual PDPs. Third, during the 60-day period following the sale to WellCare, the proposed

Final Judgment gave WellCare the opportunity to interview and hire Aetna’s current employees

with expertise related to the individual PDP business. Fourth, CVS must, at WellCare’s option,

enter into an administrative services agreement to provide WellCare with all of the services




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required to manage the divestiture assets through the 2019 plan year, which ends on December

31, 2019, including contracting with pharmacy networks, administering the plans’ formularies,

and providing back-office support and claims administration functions. Finally, CVS and Aetna

must allow WellCare to use the Aetna brand for the divestiture assets through the 2019 plan year.

II.    The United States respectfully requests the Court to enter the Final Judgment

       A.      The requirements of the APPA have been satisfied

       The APPA requires a 60-day period for the submission of written comments relating to

the proposed Final Judgment. 15 U.S.C. § 16(b). In compliance with the APPA, the United States

filed the proposed Final Judgment and the CIS with the Court on October 10, 2018; published

the proposed Final Judgment and CIS in the Federal Register on October 17, 2018, see 83 Fed.

Reg. 52558; and had summaries of the terms of the proposed Final Judgment and CIS, together

with directions for the submission of written comments relating to the proposed Final Judgment,

published in The Washington Post for seven consecutive days on October 12–18, 2018. The 60-

day period for public comments ended on December 17, 2018. The United States received 173

written comments relating to the proposed Final Judgment. On February 13, the United States

filed with the Court its Response to Public Comments. The United States posted on the Antitrust

Division’s website the 173 comments and its Response to Public Comments. As authorized by

15 U.S.C. § 16(d) and the Court’s February 9, 2019 Minute Order, on February 21, 2019, the

United States published in the Federal Register its Response to Public Comments and the

location on the Antitrust Division’s website at which the 173 public comments are accessible,

see 84 Fed. Reg. 5466 (2019).

       The Certification of Compliance filed with this Motion and Memorandum states that all

the requirements of the APPA have been satisfied. The parties have stipulated that, upon the




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motion of any party or upon the Court’s own motion, the proposed Final Judgment may be

entered by the Court at any time after compliance with the requirements of the APPA and without

further notice to any party or other proceedings, provided that the United States has not

withdrawn its consent. Asset Preservation Separate Stipulation and Order, Section IV.A. (Dkt.

#15). It is now appropriate for the Court to enter the proposed Final Judgment if it finds that it is

in the public interest pursuant to 15 U.S.C. § 16(e). Entry of the proposed Final Judgment would

terminate this action, except that the Court would retain jurisdiction to construe, modify, or

enforce the provisions of the Final Judgment and to punish violations thereof.

       B.      Standard of judicial review under the APPA

       Before entering the proposed Final Judgment, the APPA requires the Court to determine

whether the proposed Final Judgment “is in the public interest.” 15 U.S.C. § 16(e)(1). In making

that determination, the Court shall consider:

       (A)     the competitive impact of such judgment, including termination of alleged
               violations, provisions for enforcement and modification, duration of relief
               sought, anticipated effects of alternative remedies actually considered,
               whether its terms are ambiguous, and any other competitive considerations
               bearing upon the adequacy of such judgment that the court deems
               necessary to a determination of whether the consent judgment is in the
               public interest; and

       (B)     the impact of entry of such judgment upon competition in the relevant
               market or markets, upon the public generally and individuals alleging
               specific injury from the violations set forth in the complaint including
               consideration of the public benefit, if any, to be derived from a
               determination of the issues at trial.

15 U.S.C. §§ 16(e)(l)(A), (B).

       The Court can make the public-interest determination based on the CIS and the Response

to Public Comments alone. Section 16(e)(2) of the APPA states that “[n]othing in this section




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shall be construed to require the court to conduct an evidentiary hearing or to require the court to

permit anyone to intervene.”

       In its Response to Public Comments, the United States set forth the public interest

standard under the APPA and now incorporates those statements herein by reference. The public,

including affected competitors and customers, has had the opportunity to comment on the

proposed Final Judgment. As explained in the CIS, Response to Order to Show Cause (Dkt. #

32), and the Response to Public Comments, entry of the proposed Final Judgment is in the

public interest.

III.    Conclusion

       For the reasons set forth in this Motion and Memorandum, the CIS, the Response to

Order to Show Cause, and the Response to Public Comments, the United States respectfully

requests that the Court find that the proposed Final Judgment is in the public interest and be

entered at this time.




Dated: February 25, 2019

                                                     Respectfully submitted,

                                                                  /s/
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                                 CERTIFICATE OF SERVICE

       I, Jay D. Owen, hereby certify that on February 25, 2019, I caused a copy of the

foregoing document to be served upon Plaintiffs State of California, State of Florida, State of

Hawaii, State of Washington, and Defendants CVS Health Corporation and Aetna Inc., via the

Court’s CM/ECF system, and to be served upon Plaintiff State of Mississippi by mailing the

documents electronically to its duly authorized legal representative:


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                                                                          /s/
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